       Case 3:22-cv-01101-WHA Document 83 Filed 10/13/22 Page 1 of 2




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15                                UNITED STATES DISTRICT COURT
16                               NORTHERN DISTRICT OF CALIFORNIA
17                                   SAN FRANCISCO DIVISION
18   DAWN DANGAARD, a/k/a ALANA                      CASE NO. 3:22-cv-01101-WHA
     EVANS; KELLY GILBERT, a/k/a KELLY
19   PIERCE; JENNIFER ALLBAUGH, a/k/a                [PROPOSED] ORDER GRANTING
     RUBY, and                                       FENIX INTERNATIONAL LIMITED,
20              on behalf of themselves              FENIX INTERNET LLC, AND LEONID
                and all others similarly situated,   RADVINSKY’S MOTION TO REMOVE
21                                                   INCORRECTLY FILED DOCUMENT
                   Plaintiffs,
22                                                   Date:       November 16, 2022
            vs.                                      Time:       11:30 a.m.
23                                                   Location:   Courtroom 12, 19 Floor
     INSTAGRAM, LLC; FACEBOOK                        Judge:      Hon. William Alsup
24
     OPERATIONS, LLC; META PLATFORMS,
     INC.; FENIX INTERNATIONAL INC.;                 Second Amended Class Action Complaint
25                                                   Filed: September 28, 2022
     FENIX INTERNET LLC; LEONID
26   RADVINSKY, and JOHN DOES 1-10,

27                 Defendants.

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                                                                  Case No. 3:22-cv-01101-WHA
                  [PROPOSED] ORDER GRANTING MOTION TO REMOVE INCORRECTLY FILED DOCUMENT
        Case 3:22-cv-01101-WHA Document 83 Filed 10/13/22 Page 2 of 2




 1          Before the Court is Defendants Fenix International Limited, Fenix Internet LLC, and Leonid

 2 Radvinsky’s (collectively, the “Fenix Defendants”) Motion to Remove Incorrectly Filed Document.

 3
     Having reviewed the Fenix Defendants’ Motion and for the reasons set forth therein, the Court finds
 4
     good cause to grant the Motion. The Fenix Defendants’ Motion is therefore GRANTED, and the
 5
     Clerk of Court is directed to permanently remove the Fenix Defendants’ Motion to Dismiss
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 7 Plaintiffs’ Second Amended Complaint (ECF No. 76) from the docket.

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     IT IS SO ORDERED
 9
     Dated: October 13, 2022
10                                                                      Hon. William Alsup
                                                                        United States District Judge
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                                                                   Case No. 3:22-cv-01101-WHA
                  [PROPOSED] ORDER GRANTING MOTION TO REMOVE INCORRECTLY FILED DOCUMENT
